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8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10                                SOUTHERN DIVISION
11

12

13    PINN, INC.,                                 Case No.: SA CV 19-01805-DOC-(JDEx)
14          Plaintiff,
15
                                                  ORDER:
16          vs.
                                                    ADOPTING TECHNICAL
17                                                SPECIAL MASTER SUPPLEMENTAL
      APPLE INC.,                                 REPORT AND RECOMMENDATION
18
            Defendants.                           ON CLAIM CONSTRUCTION; AND
19
                                                     ADOPTING-IN-PART AND
20                                                MODIFYING-IN-PART TECHNICAL
                                                  SPECIAL MASTER REPORT AND
21                                                RECOMMENDATION ON MOTIONS
22
                                                  IN LIMINE

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1           Plaintiff Pinn, Inc. (“Plaintiff” or “Pinn”) has asserted United States Patents No. 9,807,491 (“the

2    ’491 Patent”), 10,455,066 (“the ’066 Patent”), and 10,609,198 (“the ’198 Patent”) against Defendant

3    Apple Inc. (“Defendant” or “Apple”). The only remaining Defendant is Apple Inc. Plaintiff presently

4    asserts Claims 9, 10, 14, 30, and 34 of the ’066 Patent and Claims 1, 3, 5, 21, and 25 of the ’198 Patent.

5           As directed by the Court (see Dkt. 375), and by authority granted pursuant to Federal Rule of

6    Civil Procedure 53 (see Dkt. 64, 77), the Technical Special Master resolved disputes regarding whether

7    claim construction issues had arisen in briefing on the parties’ motions in limine. The Technical

8    Special Master found supplemental claim construction proceedings appropriate as to the “wireless
9    pairing” terms and the “base station” terms. (See Dkt. 392-1, Jan. 29, 2021 Order No. TSM-5.)
10          The Court also referred motions in limine to the Technical Special Master for resolution. (See
11   Dkts. 375, 379). The following motions in limine and briefing were presented to the Technical Special
12   Master and are now before the Court:
13                  Plaintiff’s Motions in Limine Nos. 1–15 (Dkt. 345), Plaintiff’s Memorandum in
                    Support of its Motions in Limine (Dkt. 345-1), and Defendant’s opposition (Dkt.
14                  353 (redacted version), Dkt. 370 (sealed version));
15                  Defendant’s Motions in Limine Nos. 1–5 and memorandum in support (Dkt. 340),
                    and Plaintiff’s opposition (Dkt. 357 (redacted version), Dkt. 372 (sealed version));
16
                    Defendant’s Motions in Limine Nos. 6–10 and memorandum in support (Dkt. 341
17                  (redacted version), Dkt. 369 (sealed version)), and Plaintiff’s opposition (Dkt. 361
                    (redacted version), Dkt. 373 (sealed version));
18
                    Defendant’s Motions in Limine Nos. 11–15 and memorandum in support (Dkt.
19                  339 (redacted version), Dkt. 369-1 (sealed version)), and Plaintiff’s opposition
                    (Dkt. 363 (redacted version), Dkt. 374 (sealed version));
20
                    Defendant’s Omnibus Declaration of Seth M. Sproul in Support of Defendant
21                  Apple Inc.’s Motions in Limine (Nos. 1–15) (Dkt. 344, Dkt. 369-2). 1

22          The Technical Special Master held a full-day hearing on the motions in limine on February 16,

23   2021, held a hearing on supplemental claim construction on March 29, 2021, served a 122-page

24   Technical Special Master Report and Recommendation on Motions in Limine on March 9, 2021

25   (Dkt. 411), and served a 45-page Technical Special Master Supplemental Report and Recommendation

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      The Technical Special Master also permitted the parties to file notices of supplemental authority (see
28   Dkts. 401 & 402).
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1    on Claim Construction (Dkt. 423-1) on April 2, 2021 (in addition to the original 95-page Technical

2    Special Master Report and Recommendation on Claim Construction, entered June 29, 2020 (Dkt.

3    159-1), as to which the Court has already ruled on objections (see Dkt. 312)). The objections now

4    before the Court are as follows:

5              Regarding the Technical Special Master Supplemental Report and Recommendation on Claim

6    Construction (Dkt. 423-1 (“Suppl. CC R&R”)), before the Court are:

7                     Plaintiff’s objections (Dkt. 428); and
                      Defendant’s objections (Dkt. 427).
8

9              Regarding the Technical Special Master Report and Recommendation on Motions in Limine

10   (Dkt. 411 (“R&R”); Dkt. 425-1 (redacted)), before the Court are:

11                    Plaintiff’s objections (Dkt. 434; Dkt. 433 (redacted));
                      Defendant’s objections (Dkt. 432; Dkt. 418 (redacted));
12
                      Plaintiff’s response (Dkt. 435); and
13
                      Defendant’s response (Dkt. 437; Dkt. 438 (redacted)).
14
               After hearing oral arguments from counsel at the pretrial conference on June 14–17, 2021, and
15
     after conducting a de novo review, the Court ADOPTS the Technical Special Master Supplemental
16
     Report and Recommendation on Claim Construction and ADOPTS-IN-PART and MODIFIES-IN-
17
     PART the Technical Special Master Report and Recommendation on Motions in Limine as set forth
18
     herein.
19

20     I.      LEGAL STANDARD
21             The Court reviews de novo all objections to a Special Master’s report and recommendation,
22   including legal conclusions and findings of fact. Fed. R. Civ. P. 53(f)(3), (4); Seaman v. Sedgwick,
23   Detert, Moran & Arnold, LLP, No. SA CV 11-0664 DOC (RNBx), 2014 WL12700973, at *1 (C.D.
24   Cal. Sep. 30, 2014). Accordingly, “[t]he court may ‘accept, reject, or modify, in whole or in part, the
25   findings or recommendations made by the [special master].’ The [court] may also receive further
26   evidence or recommit the matter to the [special master] with instructions.” McDonnell Douglas Corp.
27   v. Commodore Bus. Machs., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981) (quoting 28 U.S.C. §
28   636(b)(1)(C)).

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2     II.      RULINGS AND ANALYSIS

3
               A. Adoption of Supplemental Report and Recommendation on Claim Construction
4

5              After conducting de novo review, the Court adopts the following constructions as recommended
6    by the Technical Special Master for the reasons described in the Technical Special Master
7    Supplemental Report and Recommendation on Claim Construction (Dkt. 423-1).
8

9                                  Term                               Adopted Construction
10
            A.(1) “wirelessly pairing”                     “establishing a trusted relationship between
11
            A.(2) “wireless pairing”                       two devices that allows them to
12
                                                           communicate wirelessly”
13
                                                           (See Suppl. CC R&R, Dkt. 423-1 at 6–25)
14

15
            A.(3) “wirelessly paired”                      “a trusted relationship is established
16
                                                           between two devices that allows them to
17
                                                           communicate wirelessly”
18
                                                           (See Suppl. CC R&R, Dkt. 423-1 at 6–25)
19

20
            J.(1) “main body”                              Plain meaning
21
            J.(2) “base station”                           (See Suppl. CC R&R, Dkt. 423-1 at 26–45)
22
            J.(3) “mobile base station”
23

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1          B. Rulings on Motions in Limine

2

3                                 Plaintiff Pinn’s Motions in Limine (Dkt. 345)
4

5                            Motion                                            Court’s Disposition

6       Plaintiff Pinn #1                                        DENIED

7       “The nationality, citizenship, place of                  The Court declines to adopt the analysis set
        residence, native language, or choice to testify         forth in the R&R. Native language, for
8
        in the native language of any witness”                   example, may be relevant as to certain
9                                                                witnesses, such as when an interpreter is being
                                                                 used or has been used in the past. The
10                                                               concerns presented by this motion in limine
                                                                 can be handled on a question-by-question basis
11                                                               during trial.
12
        Plaintiff Pinn #2                                        GRANTED
13
        “The location where each party’s counsel                 The Court declines to adopt the analysis set
14      practices, and the location or size of each              forth in the R&R. Locations and sizes of
        party’s counsel’s law firms”                             counsel and their law firms is irrelevant.
15

16
        Plaintiff Pinn #3                   GRANTED-IN-PART and DENIED-IN-PART as follows:

17      “Attorney compensation,             GRANTED so as to exclude evidence or argument
        litigation funding, or              regarding:
18      contingency arrangements”               (a) litigation funding (if, however, Defendant believes
                                            at trial that Plaintiff has “opened the door” by presenting
19
                                            evidence or argument that is calculated to tell a so-called
20                                          “David vs. Goliath narrative,” Defendant should raise the
                                            issue at trial so that the Court can evaluate the issue at
21                                          that time); and
                                                (b) compensation arrangements for Plaintiff’s trial
22                                          counsel (including any financial interest Plaintiff’s trial
                                            counsel may have in Plaintiff or in the outcome of the
23
                                            present litigation);
24
                                            otherwise denied (including as to patent prosecution funding
25                                          and as to investments in Plaintiff).

26                                          The Court adopts the analysis set forth in the R&R and thus
                                            finds, for example, that litigation funding and compensation
27
                                            arrangements for counsel are collateral matters and would be
28                                          unduly consumptive of time at trial.

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        Plaintiff Pinn #4                         GRANTED-IN-PART and DENIED-IN-PART as
1
                                                  follows:
2       “Derogatory terms to refer to Pinn or
        the inventor of the Asserted Patents,     GRANTED so as to preclude Defendant from:
3       the propriety of asserting patents           (a) suggesting that being a non-practicing
        without practicing them and that          entity is improper (or labeling Plaintiff as a “troll”
4       patents held by a non-practicing entity   or “patent troll” or any similar label); and
        are less valuable”                           (b) discussing Plaintiff’s status as a non-
5
                                                  practicing entity as part of any non-infringement
6                                                 argument;

7                                                 otherwise denied (such that Defendant is not
                                                  precluded from discussing Plaintiff’s status as a non-
8                                                 practicing entity as part of Defendant’s arguments on
                                                  invalidity and damages).
9

10                                                The Court adopts the analysis set forth in the R&R.
                                                  The Court expressly excludes any use of terms such
11                                                as “patent troll” or “troll” and prohibits any
                                                  suggestion that it is improper for a non-practicing
12                                                entity to allege infringement. The Court anticipates,
13
                                                  however, that the parties can discuss the patents-in-
                                                  suit and Plaintiff’s activities more generally.
14
        Plaintiff Pinn #5                         DENIED
15
        “The quality of the USPTO and its         The Court declines to adopt the analysis set forth in
16
        examiners, including that examiners are   the R&R. This motion is overly broad. The concerns
17      overworked or that the USPTO is prone     presented by this motion in limine can be handled on
        to error”                                 a question-by-question basis during trial.
18
        Plaintiff Pinn #6                         DENIED
19
        “The number of patents Apple has been     The Court adopts the R&R on this motion in limine
20
        granted or Apple’s propensity to be       and rejects Defendant’s request to strike footnote 4 of
21      granted patents”                          the R&R.

22      Plaintiff Pinn #7                         GRANTED
23      “Objections to discovery requests or      The Court adopts the R&R on this motion in limine
        testimony including assertions of         and hereby precludes the parties from mentioning
24
        privilege or work product”                privilege or work product protection unless the issue
25                                                is brought to the Court’s attention in advance.

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        Plaintiff Pinn #8                    DENIED
1

2       “Comparing embodiments in the        The Court declines to adopt the recommendation set forth in
        Asserted Patents to the Accused      the R&R to grant-in-part and deny-in-part this motion in
3       Products, the prior art, or Pinn’s   limine.
        product / Arguing that Apple
4       practices the prior art / Arguing    At the pretrial conference, on June 16, 2021, counsel
        that if the Accused Products         provided the Court with a preview of the claimed features
5
        infringe, then the Asserted Claims   and prior art references that the parties anticipate presenting
6       are invalid”                         to support their infringement and invalidity arguments at
                                             trial. For example, the Court anticipates allowing
7                                            Defendant to present evidence of the “Kalayjian” patent
                                             application filed in 2006, the history of implementation of
8                                            the “Find My” feature in Defendant’s products, and the
                                             “Watson” patents such as United States Patents No.
9
                                             10,070,212, 10,219,062, and 10,524,037.
10
                                             The parties submitted the following limiting instruction as
11                                           agreed-upon, for the Court to consider reading to the jury
                                             during the presentation of evidence regarding the Pinn
12                                           Product: “The jury shall not compare the accused AirPods
13
                                             products to the Pinn Product for purposes of infringement or
                                             validity.”
14
                                             Plaintiff agrees that this agreed-upon limiting instruction
15                                           addresses the concern raised by Plaintiff’s MIL #8. Based
                                             on this, and based on the Court’s concern that Plaintiff’s
16
                                             MIL #8 may be overbroad (notwithstanding the legal
17
                                             correctness of certain aspects of Plaintiff’s MIL #8 as
                                             discussed by the parties and the Technical Special Master in
18                                           the R&R), the Court denies Plaintiff’s MIL #8.

19      Plaintiff Pinn #9                                                     WITHDRAWN by Plaintiff
                                                                              on June 16, 2021
20
        “That the Accused Products do not infringe because they have
21      two earbuds rather than only one”

22      Plaintiff Pinn #10                                                    WITHDRAWN by Plaintiff
                                                                              on June 16, 2021
23      “Testimony or arguing in a manner inconsistent with the Court’s
        claim construction or that questions or disparages it”
24

25      Plaintiff Pinn #11                                   DENIED AS MOOT

26      “That the Accused Products do not infringe           (On June 16, 2021, the parties agreed that this
        because their charging cases do not have             motion in limine is moot.)
27      (1) wireless communication capability,
28
        (2) an information display, or (3) a clip”

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         Plaintiff Pinn #12                                   DENIED
1

2        “Whether Pinn has marked any of its products         The Court adopts the analysis set forth in the
         with the numbers of any Pinn Patents”                R&R. For example, Defendant can present
3                                                             evidence of public instances of Plaintiff
                                                              marking the Pinn Product with patent numbers.
4
         Plaintiff Pinn #13                                   GRANTED AS MODIFIED: Defendant is
5
                                                              precluded from arguing that Plaintiff
6        “Suggesting inequitable conduct was                  committed “inequitable conduct,” but
         committed during the prosecution of any of           Defendant can otherwise present evidence
7        the Asserted Patents or any related patents”         and argument regarding prosecution.
8                                                             The Court adopts the analysis set forth in the
9
                                                              R&R. On June 16, 2021, the Court
                                                              OVERRULED Plaintiff’s objections to
10                                                            evidence regarding patent prosecution. 2

11                                                            The Court does not anticipate submitting the
                                                              question of unclean hands to the jury for an
12                                                            advisory verdict. Defendant should not argue
13
                                                              to the jury that Plaintiff has unclean hands.

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       This evidence includes: e-mail correspondence between named inventor Mr. Sean Kim and Speck
22   Design (an engineering firm hired by Mr. Sean Kim); the financial interest in Plaintiff given to a patent
     prosecution attorney, Mr. Mincheol Kim, and any other compensation provided to Mr. Mincheol Kim;
23   all documents in the prosecution file history for the ’066 Patent, including correspondence between the
     patent office and Mr. Sean Kim and Mr. Mincheol Kim; documents reflecting events during prosecution
24
     of the ’066 Patent, including patent claim cancellations, introduction of new claims, and amendment of
25   claims, and the timing thereof; deletion of the Speck engineers originally named as inventors on the
     application that issued as the ’066 Patent, namely Mr. Vincent Pascual, Mr. H. Lawson Fisher,
26   Mr. Devjeet Mishra, and Mr. Jason Stone, and the timing of their deletion as named inventors; that these
     four deleted named inventors were not advised regarding their deletion at the time of the deletion; and
27   any other evidence regarding the facts and circumstances of the prosecution of the ’066 Patent. The
28
     Court hereby OVERRULES Plaintiff’s objections to such evidence because this evidence pertains to
     relevant issues such as proper inventorship of the ’066 Patent.
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        Plaintiff Pinn #14                                  GRANTED-IN-PART and DENIED-IN-PART
1
                                                            as follows:
2       “Evidence that Pinn no longer asserts
        certain claims, [no longer] accuses the             GRANTED so as to preclude Apple from:
3       PowerBeats Pro of infringement, or of                   (a) presenting evidence or argument that
        Summary Judgment of Non-infringement”               Plaintiff dropped asserted patent claims or
4                                                           that the Court granted summary judgment
                                                            as to certain claims; and
5
                                                                (b) presenting evidence or arguments
6                                                           regarding dropped accused products except
                                                            as to: (i) the feasibility of Defendant
7                                                           designing around the patents-in-suit; and
                                                            (ii) any reliance by Plaintiff’s experts on
8                                                           Powerbeats Pro source code.
9
                                                            The Court adopts the analysis set forth in the
10                                                          R&R except that the Court also allows
                                                            discussion and cross-examination regarding the
11                                                          dropped Powerbeats Pro product to the extent
                                                            that Plaintiff’s source code expert relies on:
12                                                          analysis of Powerbeats Pro source code; and
13
                                                            purported similarities between such source
                                                            code and the source code of the accused
14                                                          AirPods products.

15                                                          The Court emphasizes that the parties shall not
                                                            discuss the Court’s summary judgment rulings.
16
                                                            The parties can raise with the Court, for
17
                                                            example, whether the parties can stipulate for
                                                            the jury that the accused products do not
18                                                          infringe the ’491 Patent.

19      Plaintiff Pinn #15                                  WITHDRAWN by Plaintiff on June 16, 2021
20
        “Opinions of non-disclosed experts or
21      employees of Apple concerning infringement,
        non-infringement, validity, or invalidity”
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1
                        Defendant Apple’s Motions in Limine (Dkts. 339, 340, 341)
2

3                            Motion                                        Disposition
4       Defendant Apple #1                                 GRANTED
5
        “Pinn shall not introduce argument, evidence, or   The Court adopts the analysis set forth in
6       questions regarding unannounced, non-accused       the R&R. The Court rules in limine to
        Apple products”                                    exclude any evidence, argument,
7                                                          implications, or cross-examination
                                                           regarding Defendant’s unannounced
8                                                          products (including discussion or
9
                                                           characterization of “secret” projects).

10                                                         On June 17, 2021, the parties discussed
                                                           Defendant’s recently-announced Beats
11                                                         Studio Buds product, and the Court
                                                           explained that although Plaintiff is not
12
                                                           permitted to add the Beats Studio Buds as
13                                                         an additional accused product, the Court
                                                           anticipates allowing Plaintiff to cross-
14                                                         examine regarding the Beats Studio Buds
                                                           to rebut any evidence by Defendant
15                                                         regarding the purported ease with which
                                                           Defendant would be able to design around
16
                                                           Plaintiff’s asserted patents.
17

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        Defendant Apple #2                                  GRANTED AS MODIFIED so as to
1
                                                            preclude:
2       “Pinn shall not introduce argument, evidence, or        (a) discussion of unrelated litigations
        questions regarding Apple’s unrelated litigations   or investigations (with the
3       and investigations”                                 understanding that “unrelated” refers
                                                            to litigations or investigations other
4                                                           than those discussed in the parties’
                                                            experts reports or in which Defendant’s
5
                                                            experts were involved); and
6                                                               (b) any evidence or discussion of the
                                                            outcomes of other litigations or
7                                                           investigations (even those that are not
                                                            “unrelated”), including the amounts of
8                                                           any damage awards
9
                                                            As expressed by the parties on June 16,
10                                                          2021, the parties now accept the R&R as
                                                            to this motion in limine. The Court
11                                                          therefore adopts the R&R as to this motion
                                                            in limine as being without objection, and
12                                                          in addition, the Court adopts the R&R
13
                                                            based on the Court’s de novo review of the
                                                            issues presented by this motion in limine.
14

15      Defendant Apple #3                                  GRANTED-IN-PART and DENIED-IN-
                                                            PART, as follows:
16      “Pinn shall not introduce argument, evidence, or
        questions regarding Apple’s foreign operations      Denied as to evidence of the fact of
17
        and contract manufacturers”                         foreign manufacturing (and subsequent
18                                                          importation into the United States), as well
                                                            as regarding product development events
19                                                          that occurred abroad;
20                                                          otherwise GRANTED.
21
                                                            As expressed by the parties on June 16,
22                                                          2021, the parties now accept the R&R as
                                                            to this motion in limine. The Court
23                                                          therefore adopts the R&R as to this motion
                                                            in limine as being without objection, and
24                                                          in addition, the Court adopts the R&R
25
                                                            based on the Court’s de novo review of the
                                                            issues presented by this motion in limine.
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        Defendant Apple #4                                 GRANTED-IN-PART and DENIED-IN-
1
                                                           PART, as follows:
2       “Pinn shall not introduce argument, evidence, or
        questions regarding compensation of Apple          GRANTED as to:
3       witnesses or employees”                               (a) each fact witness’s total income
                                                           (total from all sources) and net worth
4                                                          (total from all sources);
                                                              (b) each fact witness’s amounts of
5
                                                           compensation (including stock or stock
6                                                          options) from Defendant; and
                                                              (c) each expert witness’s total income
7                                                          (total from all sources) and net worth
                                                           (total from all sources);
8
                                                           otherwise denied (including as to:
9
                                                              (i) fact witnesses receiving some
10                                                         amount of compensation, stock, or stock
                                                           options from Defendant (without
11                                                         specifying the actual amount(s)); and
                                                              (ii) each expert witness’s amount of
12                                                         compensation from Defendant, as well as
13
                                                           evidence of what percentage of an expert
                                                           witness’s total income comes from
14                                                         Defendant).

15                                                         As expressed on June 16, 2021, Defendant
                                                           withdraws its objection to the R&R as to
16
                                                           this motion in limine. The Court therefore
17
                                                           adopts the R&R as to this motion in limine
                                                           as being without objection, and in
18                                                         addition, the Court adopts the R&R based
                                                           on the Court’s de novo review of the
19                                                         issues presented by this motion in limine.
20
        Defendant Apple #5                                 GRANTED
21
        “Pinn shall not introduce argument, evidence, or   As expressed by the parties on June 16,
22      questions regarding Steve Jobs and political       2021, the parties now accept the R&R as
        positions taken by Apple or its leadership”        to this motion in limine. The Court
23                                                         therefore adopts the R&R as to this motion
                                                           in limine as being without objection, and
24
                                                           in addition, the Court adopts the R&R
25                                                         based on the Court’s de novo review of the
                                                           issues presented by this motion in limine.
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        Defendant Apple #6                                      DENIED
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2       “Pinn shall not introduce any argument, evidence, or The Court rejects the recommendation set
        questions regarding the ’446 Patent, nor any         forth in the R&R, and the Court sets forth
3       associated testimony from Mr. Stiehl”                analysis in Section II.C., below.

4       Defendant Apple #7                                      DENIED AS MOOT
5
        “Pinn shall not introduce any argument, evidence, or As expressed by the parties on June 16,
6       questions that wireless pairing requires establishing 2021, the parties agree that this motion
        pairing by wireless means, as opposed to              in limine is moot.
7       establishing a trusted relationship regardless of
        mechanism; Pinn shall comply with the Court’s
8       claim construction for the term ‘wireless pairing’”
9
        Defendant Apple #8                                      GRANTED
10
        “The parties shall not compare the burdens of           As expressed by the parties on June 16,
11      proof standards to other areas of the law”              2021, the parties now accept the R&R as
                                                                to this motion in limine. The Court
12
                                                                therefore adopts the R&R as to this motion
13                                                              in limine as being without objection, and
                                                                in addition, the Court adopts the R&R
14                                                              based on the Court’s de novo review of the
                                                                issues presented by this motion in limine.
15
        Defendant Apple #9                                   GRANTED AS MODIFIED as follows:
16

17      “Pinn shall not introduce any argument,              The Court rejects the recommendation set
        evidence, or questions as to the identity,           forth in the R&R. Pursuant to Federal
18      presence, or absence of Apple’s corporate            Rule of Evidence 403, the Court hereby
        representatives, employees, or officers in the       rules in limine to preclude any argument
19      courtroom”                                           that the following individuals should be
                                                             expected to be in the courtroom or that any
20
                                                             negative inference should be drawn against
21                                                           Defendant based on their absence at trial:
                                                                Tim Cook, Adrian Perica, Kevin Lynch,
22                                                           Omar Alwarid, and Jonathan Ive.
23                                                           On June 17, 2021, Defendant submitted that
                                                             Dan Leiva will likely testify at trial, which
24
                                                             moots Defendant’s motion as to Dan Leiva.
25

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        Defendant Apple #10                      DENIED
1

2       “The parties shall not introduce         As expressed by the parties on June 16, 2021, the parties
        unproduced and untimely disclosed        now accept the R&R as to this motion in limine. The
3       documents that were subject to           Court therefore adopts the R&R as to this motion in
        discovery requests, except documents     limine as being without objection, and in addition, the
4       being proffered for impeachment”         Court adopts the R&R based on the Court’s de novo
                                                 review of the issues presented by this motion in limine.
5

6       Defendant Apple #11        DENIED

7       “Pinn shall not            The Court adopts the analysis set forth in the R&R. At the pretrial
        introduce argument,        conference on June 17, 2021, Plaintiff stipulated that it will ask the jury
8       evidence, or questions     for no more than $0.60 per unit, for an approximate total of no more
9
        regarding Apple            than about $31 million (plus a supplemental amount that is expected to
        revenue and profits for    arise from a supplemental production of sales data that Defendant
10      the accused products       submits will be forthcoming in early July 2021). The Court stressed at
        prior to issuance of the   the pretrial conference that Plaintiff shall not ask the jury for an
11      ’066 patent”               undefined, open-ended damages award. The Court’s limitation in this
                                   regard, as well as Plaintiff’s above-noted stipulation, will mitigate any
12                                 risk of pre-issuance sales numbers improperly influencing the jury’s
13
                                   deliberation while also permitting Plaintiff to present pre-issuance sales
                                   information that is relevant to a Georgia-Pacific hypothetical
14                                 negotiation as discussed in the R&R.

15      Defendant Apple #12        GRANTED-IN-PART and DENIED-IN-PART, as follows:
16
        “Pinn shall not            GRANTED as to:
17      introduce argument,           (a) Defendant’s valuation or market capitalization,
        evidence, or questions        (b) the total revenue and profits that Defendant derives from all
18      regarding Apple’s          of Defendant’s products; and
        total revenue and             (c) drawing a comparison, as to any damages model, between
19      total profits for          what percentage of AirPods total revenue (or profits) Plaintiff
        AirPods”                   would receive and what percentage of AirPods total revenue (or
20
                                   profits) Defendant would keep;
21
                                   otherwise denied (including as to revenue and profits from Defendant’s
22                                 AirPods products).

23                                 The Court adopts the analysis set forth in the R&R. Further of note, at
                                   the pretrial conference, when again faced with Plaintiff’s identification
24
                                   of the smallest salable patent-practicing unit (“SSPPU”) as being each
25                                 entire accused AirPods product unit, Defendant was unable to identify
                                   any smaller alternative SSPPU. As to the parties’ arguments regarding
26                                 apportionment, these arguments can be properly framed as a battle of
                                   the experts, and the parties’ concerns can be addressed by cross-
27                                 examination and presentation of contrary evidence at trial.
28

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         Defendant Apple #13                                     GRANTED
1

2        “Pinn shall not introduce argument, evidence, or        As expressed by the parties on June 16,
         questions regarding Apple’s technology                  2021, the parties now accept the R&R as
3        agreements”                                             to this motion in limine. The Court
                                                                 therefore adopts the R&R as to this motion
4                                                                in limine as being without objection, and
                                                                 in addition, the Court adopts the R&R
5
                                                                 based on the Court’s de novo review of the
6                                                                issues presented by this motion in limine.

7        Defendant Apple #14                                     GRANTED
8        “Pinn shall not introduce argument, evidence, or        As expressed by the parties on June 16,
9
         questions regarding the two confidential                2021, the parties now accept the R&R as
         agreements that are the subject of Apple’s              to this motion in limine. The Court
10       motion”                                                 therefore adopts the R&R as to this motion
                                                                 in limine as being without objection, and
11                                                               in addition, the Court adopts the R&R
                                                                 based on the Court’s de novo review of the
12                                                               issues presented by this motion in limine.
13
         Defendant Apple #15                                     GRANTED
14
         “Pinn shall not introduce argument, evidence, or        As expressed on June 16, 2021, Defendant
15       questions regarding the acceptability of any non-       withdraws its objection to the R&R as to
         infringing alternative based on the timing of           this motion in limine. The Court therefore
16
         issuance of the ’491 patent”                            adopts the R&R as to this motion in limine
17                                                               as being without objection, and in
                                                                 addition, the Court adopts the R&R based
18                                                               on the Court’s de novo review of the
                                                                 issues presented by this motion in limine.
19

20

21          C. Analysis on Defendant’s Motion in Limine No. 6
22
            The following analysis explains the Court’s above-noted rejection of the Technical Special
23
     Master’s recommendation as to Defendant’s Motion in Limine #6:
24
            To argue invalidity and to counter Plaintiff’s allegation of willfulness, Defendant intends to
25
     present evidence that “Apple developed its own technology and filed its own patents.” (Dkt. 338,
26
     Def.’s Mem. of Contentions of Fact & Law at 4.)
27

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1           Nonetheless, Defendant’s MIL #6 seeks to preclude Plaintiff from discussing Defendant’s

2    United States Patent No. 10,681,446 (“the ’446 Patent”). The ’446 Patent is directed to technology that

3    is purportedly used in the accused AirPods products. In an infringement analysis, the asserted claims

4    must be compared to the accused AirPods products, not to a patent that covers technology purportedly

5    embodied by the AirPods products. Plaintiff agrees that infringement could not be proven by

6    comparing the asserted claims to the disclosures in Defendant’s ’446 Patent. (See Dkts. 443, 449,

7    Feb. 16, 2021 Hr’g Tr. at 240:15–241:14, 242:6–8 & 245:2–5.)

8           The R&R took all of this into consideration and found:
9                   Plaintiff’s arguments regarding the ’446 Patent might lead the jury to believe
                    that the ’446 Patent is the patent that covers the accused products. The
10                  proper focus is on the asserted claims, the accused product, and the asserted
                    prior art references. Other patents that perhaps cover certain aspects of the
11
                    accused products, such as the ’446 Patent, might have some relevance in
12
                    understanding the development of the accused product, but as to the ’446
                    Patent in particular Defendant has demonstrated that any probative value is
13                  substantially outweighed by the dangers of jury confusion and waste of time.
                    See Fed. R. Evid. 403.
14
     R&R at 84.
15
            Plaintiff argues:
16
                    This MIL and the Special Master’s recommendation to grant it presents a
17                  basic issue of fairness. The result of the Special Master’s recommendations
                    on Apple’s MIL No. 6 and Pinn’s MIL No. 6 is that Apple can present
18                  evidence on any of its patents “tied to relevant features of the accused
                    products” (ECF 411 at 24:fn.4, TSM R&R) but Pinn cannot present evidence
19
                    about Apple’s ’446 Patent that is tied to such features. The Special Master’s
20
                    recommendations allow Apple to present its best arguments at trial related to
                    Apple’s patents but Pinn is denied the right to do the same.
21
     (Dkt. 434 at 8.)
22
            Defendant responds that “Apple does not intend to introduce its portfolio of AirPods-related
23
     patents at trial (except for those related to its invalidity defense based on the Watson patents), let alone
24
     in the same way Pinn wants to use the ’446 patent.” (Dkt. 437 at 7.) Defendant submits: “Pinn’s
25
     intent to conflate the disclosure of the ’446 patent with the operation of the actual AirPods is clear—
26
     Pinn wants to confuse the jury with the patent and use it to implicitly argue infringement, but Mr.
27

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1    Stiehl’s testimony does not support this approach.” (Id. at 9.) 3 Further, Defendant submits that

2    although the ’446 Patent cites the ’491 Patent, the ’491 Patent is no longer at issue in the present case.

3    (Id. at 10.) Finally, Defendant argues that “[t]he question of who was ‘first’ is in part a priority battle

4    between Apple’s Watson patents and the Pinn provisional. The ’446 patent is not asserted prior art and

5    is not relevant to this analysis, and Apple is not going to introduce it into evidence.” (Id.) Defendant

6    notes that the application for the ’446 Patent was filed two weeks after Defendant publicly announced

7    its AirPods product in September 2016. (Id. at 10–11.)

8           On balance, Plaintiff’s objection is persuasive. The Court hereby expressly relies on the
9    statements by Plaintiff’s counsel that Plaintiff will not use the ’446 Patent to argue infringement. (See
10   Dkts. 443, 449, Feb. 16, 2021 Hr’g Tr. at 240:15–241:14, 242:6–8 & 245:2–5.) Instead, for example,
11   Plaintiff can cite the ’446 Patent as evidence regarding Defendant’s product development timeline, and
12   Defendant can challenge Plaintiff’s assertions through cross-examination and presentation of contrary
13   evidence. Plaintiff could also cite the ’446 Patent as evidence of Defendant’s purported knowledge of
14   Plaintiff’s intellectual property because the ’446 Patent itself cites the ’491 Patent.
15          Finally, Defendant urges: “. . . Pinn’s assertion that the ’446 patent shows Apple didn’t
16   implement a button until later in the development process should be disregarded. Because the ’446
17   patent filing is not tied directly to the timing of when Apple developed the pairing button, and it isn’t
18   asserted as prior art for that purpose by Apple, it would be prejudicial to allow Pinn to use it in this

19   way.” (Dkt. 437 at 11.) Yet, Defendant submits that it “has other evidence showing the button from

20   much earlier. For instance, the Watson patents also disclose a pairing button and were filed well

21   before the ’446 patent.” (Id.) This is an issue for cross-examination and presentation of contrary

22   evidence. It does not justify excluding any evidence regarding the ’446 Patent.

23

24

25
     3
       Defendant cites various portions of a deposition in which Mr. Stiehl testified that he left the AirPods
26   project before the design was completed and therefore could not say whether the ’446 Patent describes
     the final design. (See Def.’s Omnibus Decl. of Seth M. Sproul in Supp. of Def. Apple Inc.’s Mots. in
27   Limine (Nos. 1–15) (Dkt. 344, Dkt. 369-2), Ex. 2, July 14, 2020 Stiehl dep. at 35:25–36:2 (“I left the
     project in the middle of 2014 . . . .”), 128:23–129:4, 130:17–131:6, 202:12–203:8, 207:8–16, 210:23–
28
     211:1 & 230:5–13.)
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1            Having considered all of the foregoing, the Court hereby SUSTAINS Plaintiff’s objection,

2    REJECTS the recommendation, and DENIES Defendant’s MIL #6. The Court does, however,

3    hereby caution Plaintiff to steer clear of any improper use of the ’446 Patent as discussed in the R&R.

4

5            D. Additional Issues

6
             To whatever extent Plaintiff’s arguments at the pretrial conference amounted to a request to
7
     amend Plaintiff’s pleadings and infringement contentions so as to include Defendant’s recently
8
     announced Beats Studio Buds product, the Court does not allow Plaintiff leave to add Beats Studio
9
     Buds as an accused product in the present case.
10
             Also, at the pretrial conference, the parties presented arguments regarding whether evidence of
11
     ownership (such as regarding purported lack of consideration for Speck Design engineers assigning any
12
     ownership interest to Plaintiff) can be presented to the jury. See, e.g., MemoryLink Corp. v. Motorola
13
     Solutions, Inc., 773 F.3d 1266 (Fed. Cir. 2014) (cited by Plaintiff on June 16, 2021); Kahn v. General
14
     Motors Corp., 77 F.3d 457 (Fed. Cir. 1996) (cited by Defendant on June 17, 2021). The Court hereby
15
     rules in limine that the parties are precluded from presenting evidence, argument, or questioning in
16
     front of the jury as to any issue of proper ownership or purported lack of consideration for assignment
17
     of the patents-in-suit.
18
             Finally, the Court does not anticipate submitting any question of unclean hands to the jury for
19
     an advisory verdict. Defendant should not argue to the jury that Plaintiff has unclean hands.
20

21
     ***
22

23
             The foregoing charts, explanations, and analysis are intended to summarize and supplement the
24
     Court’s rulings as articulated by the Court during the pretrial conference on June 14–17, 2021. In
25
     Section III., below, the Court sets forth a summary of its dispositions on the pending motions and
26
     objections.
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1    III.   DISPOSITIONS

2           For the aforementioned reasons:

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                       the Technical Special Master’s Supplemental Report and Recommendation on
4
               Claim Construction (Dkt. 423-1) is hereby ADOPTED (and Plaintiff’s objections
5
               (Dkt. 428) and Defendant’s objections (Dkt. 427) are hereby overruled as set forth in
6
               Section II.A., above);
7

8                      the Technical Special Master’s Report and Recommendation on Motions in
9              Limine (Dkt. 411) is hereby ADOPTED-IN-PART and MODIFIED-IN-PART
10             (and Plaintiff’s objections (Dkt. 433, 434) and Defendant’s objections (Dkt. 418, 432)
11             are hereby sustained-in-part and overruled-in-part as set forth in Section II.B. and
12             Section II.C., above); and
13
                       Plaintiff’s Motions in Limine Nos. 1–15 (Dkt. 345),
14
                       Defendant’s Motions in Limine Nos. 1–5 (Dkt. 340),
15
                       Defendant’s Motions in Limine Nos. 6–10 (Dkt. 341), and
16
                       Defendant’s Motions in Limine Nos. 11–15 (Dkt. 339)
17
                   are hereby GRANTED-IN-PART and DENIED-IN-PART as set forth in
18
            Section II.B. and Section II.C., above.
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            DATED:         July 14, 2021
22

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                                                                    DAVID O. CARTER
24                                                            UNITED STATES DISTRICT JUDGE

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